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                            UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF ARKANSAS
                               FAYETTEVILLE DIVISION

LEAGUE OF WOMEN VOTERS
OF ARKANSAS, et al.                                                                  PLAINTIFFS

v.                                      No. 5:20-CV-05174

JOHN THURSTON, in his official
capacity as the Secretary of State of
Arkansas, et al.                                                                   DEFENDANTS

                                             ORDER

       Plaintiffs filed a motion for preliminary injunction. They also filed a motion (Doc. 14) to

expedite briefing on that motion. Defendants filed a response (Doc. 22) in opposition to the motion

to expedite. The motion to expedite will be denied.

       Under the local rules of this Court, a party typically has 14 days after service to respond to

a motion. W.D. Ark. R. 7.2(b). Defendants were served with the motion for preliminary injunction

on September 28, 2020. (Doc. 19). Because the last day of the response period is a “legal holiday,”

Defendants’ response must be filed by October 13, 2020. Fed. R. Civ. P. 6(a)(1)(C), (a)(6). The

Rules allow the Court to extend or shorten this period for good cause. W.D. Ark. R. 7.2(b); accord

Fed. R. Civ. P. 6(c)(1)(C) (allowing a reduction in the period between service of a motion and any

hearing on the motion).

       The Court agrees with Plaintiffs that the looming deadlines and ongoing absentee voting

make reaching a decision on the merits of their motion for preliminary injunction a matter of

urgency, but it also acknowledges that there is some merit to Defendants’ argument that Plaintiffs’

own delay until September 22, 2020 to file this action contributes to the urgency. The Arkansas

absentee ballot verification framework appears unchanged since 2005, and the most obvious

reason to address that framework now—the larger-than-normal number of voters casting absentee

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ballots due to COVID-19-related risks—has been apparent at least since those risks were clearly

identified by the Governor of Arkansas on August 7, 2020, as a justification for casting an absentee

ballot. In many cases, the imminence and magnitude of the identified harm might be enough to

demonstrate good cause to expedite briefing even despite any delay by Plaintiffs. In a case like

this, however, which has the potential to affect election rules close in time to votes being cast, the

Court’s exercise of discretion must be informed by additional considerations to those normally

guiding a decision on injunctive relief. It is of great importance that any order mandating new

election rules close to an election avoid adding to voter confusion or suppression. Purcell v.

Gonzalez, 549 U.S. 1, 4–5 (2006).

        If Plaintiffs are to prevail, this Court’s obligation to be precise and correct in ordering

injunctive relief is best met by allowing Defendants a full and fair opportunity to present all facts,

law, and argument that might prevent that relief or require it to be tailored differently than Plaintiffs

request. If Defendants prevail, then this additional period of time is immaterial.

        IT IS THEREFORE ORDERED that the motion to expedite briefing (Doc. 14) is DENIED.

        IT IS SO ORDERED this 6th day of October, 2020.


                                                                /s/P. K. Holmes, ΙΙΙ
                                                                P.K. HOLMES, III
                                                                U.S. DISTRICT JUDGE




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